Case 18-13335 Doc 86 Filed 04/11/24 Entered 04/11/24 10:44:13 Main Document Page 1 of 3

United States Bankruptcy Court

Eastern District of Louisiana

EUGENE BARON SCHWING, JR. 18-13335
239 DILTON ST Chapter 13
NEW ORLEANS LA 70123 Section A

TRUSTEE'S NOTICE OF FILING OF FINAL ACCOUNT

NOTICE IS GIVEN that the debtor(s), appear to have completed the payments due under their
confirmed plan. The Chapter 13 Trustee believes the estate has been fully administered and has,
therefore, filed a Final Account (a copy of which is available for examination at the Office of the
Clerk of Court of the United States Bankruptcy Court or contact Kristin at the Trustee's office by
calling 504-831-1313 ext 1016 or emailing kristinpD@chi3no.com) and is prepared to close the
case pursuant to 11 U.S.C. §350(a), 11 U.S.C. §1302(b) and Federal Rule of Bankruptcy Procedure
5009.

In accordance with the procedures set forth herein, the Trustee's Final Account shall be
approved and the Trustee discharged, UNLESS written objection to the Trustee's Final Accounting is
filed there to with the Clerk of the Bankrutpcy Court, 500 Poydras St, Ste B-601, New Orleans, LA
70130, and Notice given to the trustee, the debtor(s) and debtor(s) counsel. TO BE CONSIDERED,
any such objection to the Final Accounting MUST be filed within twenty-eight (28) days of the date
the Chapter 13 Trustee certifies he mailed this NOTICE. If any objection is timely filed and noticed,
the objecting party will be notified by the Trustee of the date, time, and place of the hearing on the
objection to the Final Accounting.

Attorney for Debtor:

STEVEN J HUNTER
steven.john.hunter@live.com
Case 18-13335 Doc 86 Filed 04/11/24 Entered 04/11/24 10:44:13 Main Document Page 2 of 3

United States Bankruptcy Court

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EUGENE BARON SCHWING, JR.
239 DILTON ST
NEW ORLEANS LA 70123

18-13335
Chapter 13
Section A

CERTIFICATE OF SERVICE

This is to certify that a copy of the following document was served on 04/11/2024 by first class

mail, prepaid, upon the debtor and required parties:

EUGENE BARON SCHWING, JR.
239 DILTON ST
NEW ORLEANS, LA 70123-0000

BANK OF AMERICA
PO BOX 15102
WILMINGTON, DE 19886-5102

CAVALRY SPV I LLC
PO BOX 27288
TEMPE, AZ 85282-0000

DISCOVER FINANCIAL
PO BOX 3025
NEW ALBANY, OH 43054-3025

REPUBLIC FINANCE LLC
282 TOWER RD
PONCHATOULA, LA 70454-0000

MIDLAND CREDIT MANAGEMENT
PO BOX 2011
WARREN, MI 48090-0000

RESURGENT CAPITAL SERVICES
PO BOX 10587
GREENVILLE, SC 29603-0587

SPECIALIZED LOAN SERVICING LLC
6200 S QUEBEC ST

STE 300

GREENWOOD VILLAGE, CO 80111-0000

ABSOLUTE RESOLUTION INVESTMENT LLC
8000 NORMAN CENTER DR

STE 350

BLOOMINGTON, MN 55437-0000

CITIBANK NA

6716 GRADE LN

BLG 9 STE 910-PY DEPT
LOUISVILLE, KY 40213-3439

PRA RECEIVABLES MANAGEMENT LLC
PORTFOLIO RECOVERY ASSOCIATES
PO BOX 12914

NORFOLK, VA 23541-0000

JEFFERSON CAPITAL SYSTEMS LLC
PO BOX 772813
CHICAGO, IL 60677-2813

CAPITAL ONE BANK USA NA
AMERICAN INFOSOURCE LP

PO BOX 71083

CHARLOTTE, NC 28272-1083

JPMORGAN CHASE BANK NA
PO BOX 15368
WILMINGTON, DE 19850-0000

QUANTUM3 GROUP LLC/NCEP LLC
PO BOX 788
KIRKLAND, WA 98083-0788

STATE FARM BANK

C/O BECKET AND LEE LLP
PO BOX 3001

MALVERN, PA 19355-0701
Case 18-13335 Doc 86 Filed 04/11/24 Entered 04/11/24 10:44:13 Main Document Page 3 of 3

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AMERICAN EXPRESS NATIONAL BANK
C/O BECKET AND LEE LLP

PO BOX 3001

MALVERN, PA 19355-0701

BY: /s/ Leslie Spain
